Case 5:19-cv-00930-VEB Document 21 Filed 01/12/21 Page 1 of 1 Page ID #:919



 1
 2
 3
 4
 5
 6
 7
 8                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
 9
10   KIMBERLY STASSIN,                        )   Case No.: 5:19-cv-00930-VEB
                                              )
11                Plaintiff,                  )   ORDER AWARDING EQUAL
                                              )   ACCESS TO JUSTICE ACT
12         vs.                                )   ATTORNEYS’ FEES AND
                                              )   EXPENSES PURSUANT TO 28
13   ANDREW SAUL,                             )   U.S.C. § 2412(d) AND COSTS
     Commissioner of Social Security,         )   PURSUANT TO 28 U.S.C. § 1920
14                                            )
                  Defendant                   )
15                                            )
                                              )
16
17         Based upon the parties’ Stipulation for the Award and Payment of Equal
18   Access to Justice Act Fees, Costs, and Expenses:
19         IT IS ORDERED that fees and expenses in the amount of $3,325.00 as
20   authorized by 28 U.S.C. § 2412, and no costs authorized by 28 U.S.C. § 1920, be
21   awarded subject to the terms of the Stipulation.
22   Dated this 12th day of January, 2021,
23                                           /s/Victor E. Bianchini
24                                           VICTOR E. BIANCHINI
                                             UNITED STATES MAGISTRATE JUDGE
25
26

                                              -1-
